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    Exhibit 374
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                                        Susman Godfrey l.l.p.
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                                                       __________
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        __________                                        __________                                   __________

                        Stephen Shackelford, Jr.
                                                                                      E-Mail SShackelford@susmangodfrey.com
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          May 12, 2021

          Via E-Mail

          Eric P. Early
          Early Sullivan Wright Gizer & McRae LLP
          eearly@earlysullivan.com

          Re:       OAN’s Repeated and Knowingly False Coverage of Dominion

          Dear Mr. Early:

                   I write, yet again, on behalf of my client Dominion.1 OAN continues to
          spread its knowing and reckless lies about Dominion and the 2020 election, most
          recently in its April 4, April 22, April 29, and May 3, 2021 broadcasts. We write
          once again to put OAN on notice that its shameful reporting has caused
          extraordinary and irreparable harm to Dominion and that it must immediately
          retract its defamatory statements in full and issue an immediate on-air and written
          apology.

                  OAN’s lies about Dominion have spiraled out of control. Rather than
          correcting its lies about Dominion in response to Dominion’s multiple retraction
          demands, OAN has crafted an entire line of programming centered on continuing
          to spread falsehoods about Dominion. For example, on April 4, 2021, OAN aired
          yet another of Mike Lindell’s fantasies, this one titled “Scientific Proof.” In the
          segment, Lindell repeated the same lies OAN previously broadcast, including that
          Dominion “attacked” the country by working with “foreign actors in the game
          starting with China” to rig the 2020 Presidential Election, that the Big Lie was
          perpetrated “maybe by the head of Dominion,” and that “corrupt” Dominion rigged
          the election through the use of a “supercomputer.” What’s more, Lindell urged
          OAN’s audience to continue repeating these lies: “We have to get the word out. . .

          1
           “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and
          Dominion Voting Systems Corporation.
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. We have to spread the word of this.” OAN aired these lies despite complete
knowledge of their falsity and despite Dominion’s numerous retraction letters.

        OAN’s ongoing lies about Dominion do not stop there. On April 21, 2021,
OAN promoted on Twitter yet another special hosted by Mike Lindell called
“Absolute Interference,” which spread more falsehoods about Dominion. On April
22, 2021, OAN then aired that special, where Lindell and OAN hosted Michael
Flynn, among others, to promote and spread more disinformation about Dominion.
Lindell again asserted that Dominion had Venezuelan ties, and that Dominion had
been “cheating over the decades and centuries.” Flynn agreed: “not just the foreign
side of it, but how they are working with people inside of our own system.”

        Just over a week later, on April 29, 2021, OAN put Lindell on TV again,
this time on a segment titled, “One-on-One with Mike Lindell,” to spread lies about
Dominion yet again. Lindell called the election “an attack by China” through
Dominion voting machines. Lindell also accused Dominion of “the biggest attack”
and “one of the biggest crimes against humanity in history.” Lindell claimed to
have “absolute scientific proof” of these claims, despite Lindell’s and OAN’s
knowledge of their patent falsity.

         And four days later, on May 3, 2021, OAN and OAN’s Pearson Sharp yet
again hosted Mike Lindell to spread falsehoods about Dominion in a segment titled
“Mike Lindell Tackles Election Fraud.” Lindell falsely claimed that Dominion
conspired with China to rig the 2020 Presidential Elections using “these machines
. . . Dominion machines.” Lindell falsely claimed that these allegations “would hold
up in any court.” Lindell also bragged that he has the “biggest voice in this country”
to defame Dominion and used this segment to promote his earlier “docu-movies”
spreading lies about Dominion, including “Absolute Interference.”

        All told, OAN has willingly and knowingly provided Lindell with its
platform to falsely defame Dominion almost a dozen times since the end of January.
OAN, its on-air talent, its executives, its ownership, and even you (their lawyer)
know that these are lies. OAN’s claims are not improbable; they are impossible.
These lies have all been debunked, including in the numerous previous letters sent
to you, all of which are incorporated here by reference. OAN’s conduct is precisely
what the Supreme Court had in mind when it defined “actual malice.”

        Forget about the billions of dollars that Dominion has lost—and the millions
of dollars your client has made. Peoples’ lives have been threatened, and indeed
some lives have even been lost, as a result of these lies that OAN continues to
endorse and propagate to this day. Rather than retracting its lies in response to
Dominion’s multiple letters setting out the facts, OAN has not just doubled down;
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OAN has developed and capitalized on an entire line of programming focused
solely on spreading lies about Dominion.

         The damage is done. Even so, OAN can do the right thing and pull its
knowingly false and defamatory broadcasts off of all of its platforms. OAN can still
tell the world the truth and let them know that OAN has propagated and endorsed
lies—not facts—and OAN spread these lies without any evidence. OAN can tell
the world what it knows is true: that it does not believe that Dominion rigged the
2020 election and that it never had any evidence of it. And OAN can still tell the
world that the real fraud of the 2020 election was the con-job committed against
the American people by Sidney Powell, Rudy Giuliani, Mike Lindell, and others
that OAN propagated, adopted, and endorsed. Give these retractions at minimum
the same level of prominence as the terrible lies that OAN spread.

       I want to be absolutely clear: Dominion is committed to holding OAN
accountable for its shameful, utterly self-serving, and unethical conduct. But if
OAN has any decency, any idea of what is right and what is wrong, or any
remaining semblance of integrity, it will take these basic steps on the road to
redemption.

       The ball is in your court.

Sincerely,



Stephen Shackelford, Jr.
